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                                                                                                        Daniel McWeeny       August 08, 2012
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                                                                                               IN THE DISTRICT COURT OF THE UNITED STATES
                    In The Matter Of:                                                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                                            EASTERN DIVISION


                                                                                            ERIC CAINE,                          )
                                                                                                                                 )
                       EricȱCaine                                                                              Plaintiff,        )
                                                                                                                                 )
                           vs.                                                                          -vs-                     )   No. 11-CV-08996
                                                                                                                                 )   Honorable Judge
                     JonȱBurge,ȱetȱal.                                                      JON BURGE, JAMES PIENTA,             )   Kendall, Judge
                                                                                            RAYMOND MADIGAN, WILLIAM             )   Presiding
                                                                                            MARLEY, WILLIAM PEDERSON,            )
     ȱȱȱ___________________________________________________                                 DANIEL MCWEENY, CITY OF              )
                                                                                            CHICAGO, and UNIDENTIFIED            )
                                                                                            EMPLOYEES OF THE CITY OF             )
                                                                                            CHICAGO,                             )
                  ȱDanielȱMcWeeny                                                                              Defendants.
                                                                                                                                 )
                                                                                                                                 )


                     Augustȱ8,ȱ2012
                                                                                                Videotaped deposition of DANIEL MCWEENY, taken
     ȱȱȱ___________________________________________________
                                                                                          before DANA LARIMER, C.S.R., pursuant to the Federal
                                ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
                                                                                          Rules of Civil Procedure for the United States

                                                                                          District Courts pertaining to the taking of

                                                                                          depositions, at Suite 100, 312 North May, Chicago,

                                                                                          Illinois, commencing at 10:30 a.m., on the 8th day of

                                                                                          August, 2012.




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                                                                          EXHIBIT
                                                                             10




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 1            There were present at the taking of this                               1                           DEPOSITION OF

 2      deposition the following counsel:                                            2                           DANIEL MCWEENY

 3                                                                                   3

 4                                                                                   4
              LOEVY & LOEVY by
 5            MR. RUSSELL AINSWORTH,                                                 5    EXAMINATION BY                                   PAGE
              312 North May
 6            Chicago, Illinois 60607                                                6     by Mr. Ainsworth                                    5
              (312) 243-5900
 7            russell@loevy.com                                                      7

 8                  on behalf of the Plaintiff;                                      8

 9                                                                                   9                              EXHIBITS

10            THE SOTOS LAW FIRM by                                                 10
              MS. ELIZABETH A. EKL,
11            550 E. Devon, Suite #150                                              11     Exhibit 1, GPR Bates numbered X 73002             10
              Itasca, Illinois 60143
12            (630) 735-3300                                                        12     Exhibit 2, GPR Bates numbered X73028              16
              eekl@jsotoslaw.com
13                                                                                  13     and X73029
                    on behalf of the Defendants;
14                                                                                  14     Exhibit 3, consent to search Bates                18

15                                                                                  15     numbered X 73020
              DYKEMA GOSSETT
16            MR. DEREK B. PAYETTE,                                                 16     Exhibit 4, GPR Bates numbered X 72994             19
              10 S. Wacker Dr., Suite 2300
17            Chicago, Illinois 60606                                               17     Exhibit 5, GPR Bates numbered X72926              21
              (312) 627-2504
18            dpayette@dykema.com                                                   18     and X 72927

19                  on behalf of the City of Chicago;                               19     Exhibit 6, Supplementary report Bates             23

20                                                                                  20     numbered X 72869 through X 72877

21              VIDEOGRAPHER:   Rick Kosberg.                                       21     Exhibit 7, document Bates numbered                24

22                                                                                  22     City EC 016941 through City EC 016951

23                                                                                  23

24                                                                                  24



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 1         THE VIDEOGRAPHER:     This is the video deposition             1                            EXAMINATION

 2     of Daniel McWeeny taken by Loevy & Loevy in the                    2                         by Mr. Ainsworth:

 3     matter of Eric Caine versus Jon Burge, James Pienta,               3    BY MR. AINSWORTH:

 4     Raymond Madigan, William Marley, William Pederson,                 4        Q   Would you please state and spell your name

 5     Daniel McWeeny, City of Chicago, et. al., case                     5    for the record?

 6     11-CV-08996 held at the office of Loevy & Loevy at                 6        A   Daniel McWeeny, M-C-W-E-E-N-Y.

 7     312 North May, Chicago, Illinois.                                  7        Q   Are you currently employed, sir?

 8               Today is August 8 of 2012.      The time is              8        A   No.

 9     10:33.   The court reporter is Dana Larimer.      The              9        Q   When was the last time that you were

10     videographer is Rick Kosberg.     Counsel may now                 10    employed?

11     introduce themselves and the court reporter is free               11        A   I was employed, the very last time I was

12     to administer the oath.                                           12    employed was by the United States government in

13         MR. AINSWORTH:     Russell Ainsworth on behalf of             13    conducting the 2000 census.

14     the plaintiff.                                                    14        Q   And I assume that was a temporary job for a

15         MS. EKL:     Elizabeth Ekl on behalf of the                   15    few months?

16     individually named police officer defendants.                     16        A   Very temporary, yes.

17         MR. PAYETTE:     Dereck Payette of behalf of the              17        Q   What employment did you have prior to that

18     City of Chicago.                                                  18    census job?

19                                                                       19        A   Prior to that, I worked for the Minnesota

20                             DANIEL MCWEENY,                           20    Twins at Hammond Stadium in Fort Myers doing a little

21     called as a witness herein, having been first duly                21    security work in their, during spring training.       I

22     sworn, was examined upon oral interrogatories and                 22    worked for the Cook County State's Attorney's office

23     testified as follows:                                             23    as an investigator.    I worked for the Chicago Board

24                                                                       24    of Education as a consultant.



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 1               I also was employed by the Chicago Police                1        A   Ten years.

 2     Department when I retired in late '90s.                            2        Q   From what year to what year?

 3         Q    What did you do as far as consulting for the              3        A   Well, it would be right after the board of

 4     board of ed?                                                       4    education job.     I went right into working for the

 5         A    Consulted on vendors.                                     5    state's attorney's office.     Actually for about ten

 6         Q    What do you mean by that?                                 6    years I worked for them.

 7         A    Contracts that the board of ed would enter                7        Q   When did you leave the Cook County State's

 8     into in regards to vendors.                                        8    Attorney's Office?

 9         Q    Would you help them decide which vendors to               9        A   That's a good question because I should know

10     hire?                                                             10    the answer to this, but it was about three years ago.

11         A    No.                                                      11    I was there for a total of ten years.      I retired in

12         Q    What role did you play as far as the vendor              12    '98 from the police department.       One year with the

13     contracts?                                                        13    board, so that's all of '99.    So it was probably late

14         A    Investigated if they were stealing from the              14    2009, 2010.     I can't remember the dates on that.

15     taxpayers.                                                        15        Q   I would like to ask you about the years that

16         Q    How long did you have that job for?                      16    you served as a detective at area two.      What years

17         A    One year, a little bit more than a year,                 17    did you serve as a detective in area two?

18     about 14 months.                                                  18        A   It's my desire to answer and always has been

19         Q    What time frame was that?                                19    my desire to answer your questions, any and all of

20         A    1999, maybe.    1999, I think.   I think late            20    your questions.    I have also been made aware, though,

21     1990, either late 1998 or late 1999.      And I went to           21    by just merely answering your questions leaves me

22     about 14 months.                                                  22    open for prosecution for a criminal offense.

23         Q    How long did you work for the Cook County                23             So on the advice of my attorney, I have got

24     State's Attorney's office?                                        24    to decline and take my fifth amendment rights.



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 1         MS. EKL:    Counsel, would you agree, accept our              1        A    Fifth amendment.

 2     stipulation that if he were just to say I assert my               2        Q    How many times have you been deposed?

 3     fifth amendment right, it would be as if he was                   3        A    Fifth amendment.

 4     reading that statement in full or making that same                4        Q    Have you been deposed more than ten times?

 5     statement in full?                                                5        A    Fifth amendment.

 6         MR. AINSWORTH:    Yes, I will agree.                          6        Q    Tell me the names of all of the detectives

 7         MS. EKL:    Thank you.                                        7    with whom you were partners for more than two months

 8     BY MR. AINSWORTH:                                                 8    when you were in area two?

 9         Q    Which attorneys did you consult with who                 9        A    Fifth amendment.

10     provided you the advice on which you are relying here            10        Q    At some point did you leave area two and go

11     today in asserting your fifth amendment right?                   11    to area three?

12         A    I, again, have to take the fifth amendment.             12        A    Fifth amendment.

13         Q    Can you tell me the names of all of the                 13        Q    Please tell us the names of all detectives

14     attorneys with whom you consulted in reaching your               14    with whom you were partners while you were at area

15     decision to take the fifth amendment?                            15    three?   And I mean partners for more than two months

16         A    I have to take the fifth amendment.                     16    at a time.

17         Q    Do you have a good faith basis for believing            17        A    Fifth amendment.

18     that a truthful response to questions here today                 18        Q    Did you investigate the Sanchez homicides in

19     could subject you to criminal liability?                         19    April of 1986?

20         A    Fifth amendment.                                        20        A    Fifth amendment.

21         Q    What is the basis for your belief that you              21        Q    How did you come to learn there had been a

22     have a good faith basis to believe that answering                22    murder of two people on South Burley, Vincente

23     questions truthfully here today could subject you to             23    Sanchez and Rafaela Sanchez?

24     criminal liability?                                              24        A    Fifth amendment.



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 1         Q    Did anyone assign you to investigate those               1    version back?

 2     homicides?                                                        2        MR. AINSWORTH:    No, I don't.

 3         A    Fifth amendment.                                         3        Q    Exhibit No. 1 is a one-page document Bates

 4         Q    Was there a lead investigator investigating              4    numbered X 73002.    Sir, did you type this GPR?

 5     the Sanchez homicides?                                            5        A    Fifth amendment.

 6         A    Fifth amendment.                                         6        Q    Did you interview a person by the name of

 7         Q    Please tell us what role you played in                   7    Clifford Jackson Bey?

 8     investigating the Sanchez homicides?                              8        A    Fifth amendment.

 9         A    Fifth amendment.                                         9        Q    Can you tell us why this document says

10         Q    Please tell us the names of the witnesses you           10    located Clifford Johnson and he does not support

11     interviewed during your investigation of the Sanchez             11    Arbuckle's story as of this point?

12     homicides?                                                       12        A    Fifth amendment.

13         A    Fifth amendment.                                        13        Q    How did Clifford Johnson not support

14         Q    Did you review any documents in preparation             14    Arbuckle's story?

15     for your deposition here today?                                  15        A    Fifth --

16         A    Fifth amendment.                                        16        MS. EKL:    Objection, facts not in evidence.

17         Q    Let's mark this as Exhibit No. 1, please.               17        THE WITNESS:    Fifth, what she said.

18                  (Exhibit 1, GPR Bates numbered X 73002 was          18        MS. EKL:    After I object, you can still answer or

19                  marked for identification.)                         19    assert your fifth, so go on.

20         MR. AINSWORTH:    Counsel, I think I gave the                20        THE WITNESS:    Okay.

21     witness the highlighted version.     It does not matter          21    BY MR. AINSWORTH:

22     to me.   I just want you to know that his version is             22        Q    For the record --

23     different from yours.                                            23        A    Fifth amendment.

24         MS. EKL:    I appreciate that.   Do you need that            24        Q    The document states that Mr. Jackson Bey will



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 1     be interviewed again.    Was Mr. Jackson Bey                   1    murders?

 2     interviewed again?                                             2        MS. EKL:    Objection, foundation and form, assumes

 3         A   Fifth amendment.                                       3    facts not in evidence.

 4         Q   Do you know why this document says he would            4        THE WITNESS:    Fifth amendment.

 5     be interviewed again?                                          5    BY MR. AINSWORTH:

 6         A   Fifth amendment.                                       6        Q   Were you present on April 22 at area two when

 7         Q   Did you interview any of the Apache Rangers            7    Jon Burge told Michael Arbuckle that the detectives

 8     who were in custody on April 22 with regard to the             8    really wanted Aaron Patterson for the Sanchez

 9     Sanchez murders?                                               9    murders?

10         A   Fifth amendment.                                      10        MS. EKL:    Objection, foundation, form, assumes

11         Q   Did you interview Ilya Rowland on April 22 in         11    facts not in evidence.

12     regard to the Sanchez murders?                                12        THE WITNESS:    Fifth amendment.

13         A   Fifth amendment.                                      13    BY MR. AINSWORTH:

14         Q   Did you interview Michael Arbuckle on April           14        Q   Isn't it true that you heard Jon Burge tell

15     22 in regard to the Sanchez murders?                          15    Michael Arbuckle that the detectives really wanted

16         A   Fifth amendment.                                      16    Patterson for the Sanchez murders?

17         Q   Did you tell Michael Arbuckle that you really         17        MS. EKL:    Objection, foundation, form, assumes

18     wanted Patterson on the Sanchez murders?                      18    facts not in evidence.

19         MS. EKL:    Objection, form and foundation.               19        THE WITNESS:    Fifth amendment.

20         THE WITNESS:    Fifth amendment.                          20    BY MR. AINSWORTH:

21     BY MR. AINSWORTH:                                             21        Q   Did you type the last sentence of the

22         Q   Were you present when Jon Burge told                  22    narrative portion of Exhibit No. 1 where it reads,

23     Patterson that they really wanted, that the                   23    Apache Rangers in custody interviewed and they

24     detectives really wanted Patterson for the Sanchez            24    maintained their stories regarding homicides, all



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 1     processed for their agg batt warrants?                         1    the Sanchez murders?

 2         A   Fifth amendment.                                       2        MS. EKL:    Objection, foundation, form, assumes

 3         Q   What does this document mean were it states,           3    facts not in evidence.

 4     they maintain their stories regarding homicides?               4        THE WITNESS:    Fifth amendment.

 5         MS. EKL:    Objection, foundation.                         5    BY MR. AINSWORTH:

 6         THE WITNESS:    Fifth amendment.                           6        Q   Isn't it true that on April 22 of 1986 inside

 7     BY MR. AINSWORTH:                                              7    area two, Ilya Rowland told you that he had no

 8         Q   Did Ilya Rowland tell you that -- well,                8    knowledge of Eric Caine having anything to do with

 9     strike that.                                                   9    the Sanchez murders?

10              Isn't it true that Ilya Rowland told you             10        MS. EKL:    Objection, foundation, form, assumes

11     that he had no knowledge of the Sanchez murders?              11    facts not in evidence.

12         MS. EKL:    Objection, form, foundation, assumes          12        THE WITNESS:    Fifth amendment.

13     facts not in evidence.                                        13    BY MR. AINSWORTH:

14         THE WITNESS:    Fifth amendment.                          14        Q   Isn't it true that on April 22 of 1986

15     BY MR. AINSWORTH:                                             15    Michael Arbuckle told you that he had no knowledge of

16         Q   Isn't it true that on April 22, 1986 inside           16    Aaron Patterson having anything to do with the

17     area two, Ilya Rowland told you that he had no                17    Sanchez murders?

18     knowledge of the Sanchez murders?                             18        MS. EKL:    Objection, foundation, form, assumes

19         MS. EKL:    Objection, foundation, form, assumes          19    facts not in evidence.

20     facts not in evidence.                                        20        THE WITNESS:    Fifth amendment.

21         THE WITNESS:    Fifth amendment.                          21    BY MR. AINSWORTH:

22     BY MR. AINSWORTH:                                             22        Q   Isn't it true that on April 22, 1986 inside

23         Q   Isn't it true that on April 22 of 1986,               23    of area two, Michael Arbuckle told you that he had no

24     Michael Arbuckle told you that he had no knowledge of         24    knowledge of Eric Caine having anything to do with



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 1     the Sanchez murders?                                              1    X 73028 and X 3029.    Sir, does your handwriting

 2         MS. EKL:      Objection, foundation, form, assumes            2    appears on either page of this document?

 3     facts not in evidence.                                            3        A      Fifth amendment.

 4         THE WITNESS:      Fifth amendment.                            4        Q      Can you tell us whose handwriting does appear

 5     BY MR. AINSWORTH:                                                 5    on this document, Exhibit No. 2?

 6         Q      Isn't it true that on April 22, 1986 Ilya              6        A      Fifth amendment.

 7     Rowland told you that he had no knowledge of Aaron                7        Q      Isn't it true that you interviewed Michael

 8     Patterson having anything to do with the Sanchez                  8    Arbuckle inside of area two on April 23, 1986, and he

 9     murders?                                                          9    told you that a man named Sweet Tooth told him that

10         MS. EKL:      Objection, foundation, form, assumes           10    Willie Washington and his brother did the Sanchez

11     facts not in evidence.                                           11    murders?

12         THE WITNESS:      Fifth amendment.                           12        MS. EKL:    Objection, form, foundation, assumes

13     BY MR. AINSWORTH:                                                13    facts not in evidence.

14         Q     Are you going to assert your fifth amendment           14        THE WITNESS:    Fifth amendment.

15     rights in response to any question that I ask you                15    BY MR. AINSWORTH:

16     about Exhibit No. 1?                                             16        Q   Did you participate in each of the events

17         A     Yes.                                                   17    that are listed on Exhibit No. 2 or described in

18         MR. AINSWORTH:      Let's mark this as Exhibit No. 2,        18    Exhibit No. 2?

19     please.                                                          19        MS. EKL:    Objection, form, foundation.

20                  (Exhibit 2, GPR Bates numbered X73028 and           20        THE WITNESS:    Fifth amendment.

21                  X73029 was marked for identification.)              21    BY MR. AINSWORTH:

22     BY MR. AINSWORTH:                                                22        Q   Did you interview Carmelita Arbuckle?

23         Q     Showing you what has been marked as Exhibit            23        MS. EKL:    Objection, foundation.

24     No. 2.    This is a two-page document Bates numbered             24        THE WITNESS:    Fifth amendment.



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 1     BY MR. AINSWORTH:                                                 1        Q      Isn't it true that in April of 1986, you knew

 2         Q      Did you interview Richard Burnette?                    2    that cain was a slang term for coke?

 3         MS. EKL:      Objection, foundation.                          3        MS. EKL:     Objection, foundation, form.

 4         THE WITNESS:      Fifth amendment.                            4        THE WITNESS:     Fifth amendment.

 5     BY MR. AINSWORTH:                                                 5    BY MR. AINSWORTH:

 6         Q      Are you going to assert your fifth amendment           6        Q      Tell me where you searched inside of the

 7     rights in response to any questions that I ask you                7    basement of 8212 South Saginaw?

 8     about Exhibit No. 2?                                              8        A      Fifth amendment.

 9         A      Yes.                                                   9        Q      Did you find any kind of illegal substances

10         MR. AINSWORTH:      Let's mark this as Exhibit No. 3.        10    or weapons in the basement of 8212 South Saginaw?

11                  (Exhibit 3, consent to search Bates                 11        A   Fifth amendment.

12                  numbered X 73020 was marked for                     12        Q   Were you present when any illegal substances

13                  identification.)                                    13    or weapons were found inside of the basement of 8212

14     BY MR. AINSWORTH:                                                14    South Saginaw?

15         Q     Exhibit No. 3 is a one-page document Bates             15        A   Fifth amendment.

16     numbered X 73020.      Sir, does your handwriting appear         16        Q   Are you going to assert your fifth amendment

17     on this document?                                                17    rights in response to any questions that I ask you

18         A     Fifth amendment.                                       18    about the search of the basement --

19         Q     Is that your signature at the bottom of this           19        A   Yes.

20     document?                                                        20        Q   -- of 8212 South Saginaw?

21         A     Fifth amendment.                                       21        A   Yes.

22         Q     Did you search the basement of 8212 South              22        MR. AINSWORTH:    Let's mark this as Exhibit No. 4.

23     Saginaw?                                                         23                 (Exhibit 4, GPR Bates numbered X 72994 was

24         A     Fifth amendment.                                       24                 marked for identification.)



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 1     BY MR. AINSWORTH:                                                1        Q      One other question, can you tell us whose

 2         Q     Exhibit No. 4 is a one-page document Bates             2    handwriting appears on this document?

 3     numbered X 72994.      Sir, does your handwriting appear         3        A      Fifth amendment.

 4     on this document?                                                4        Q      Let's mark this as Exhibit No. 5.

 5         A     Fifth amendment.                                       5                  (Exhibit 5, GPR Bates numbered X72926 and

 6         Q     Can you tell us all the steps that you took            6                  X 72927 was marked for identification.)

 7     in order to try to find Willie Washington?                       7    BY MR. AINSWORTH:

 8         MS. EKL:    Objection, form, foundation, assumes             8        Q      Exhibit No. 5 is a two-page document, Bates

 9     facts not in evidence.                                           9    numbered X 72926 and X 72927.    Sir, did you type this

10         THE WITNESS:      Fifth amendment.                          10    document?

11     BY MR. AINSWORTH:                                               11        A   Fifth amendment.

12         Q     Isn't it true that you were trying to find            12        Q   Can you tell us who did type this document,

13     Willie Washington?                                              13    Exhibit No. 5?

14         A     Fifth amendment.                                      14        A   Fifth amendment.

15         Q     Isn't it true that as of April 24, 1986 you           15        Q   Did you interview Michael Arbuckle on May 9

16     had information that Willie Washington was a suspect            16    of 1986?

17     in the Sanchez homicides?                                       17        A   Fifth amendment.

18         MS. EKL:    Objection, foundation, form.                    18        Q   Did you interview Ilya Rowland on May 9,

19         THE WITNESS:      Fifth.                                    19    1986?

20     BY MR. AINSWORTH:                                               20        A   Fifth amendment.

21         Q     Are you going to assert your fifth amendment          21        Q   Did Ilya Rowland independently recall the

22     rights in response to any questions that I ask you              22    date April 17, 1986 or did you have to refresh his

23     about Exhibit No. 4?                                            23    recollection?

24         A     Yes, sir.                                             24        MS. EKL:    Objection, form, foundation, assumes



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 1     facts not in evidence.                                           1                  (Exhibit 6, supplementary report Bates

 2         THE WITNESS:      Fifth amendment.                           2                  numbered X 72869 through X 72877 was

 3     BY MR. AINSWORTH:                                                3                  marked for identification.)

 4         Q     Did Ilya Rowland -- strike that.     Isn't it          4    BY MR. AINSWORTH:

 5     true that Ilya Rowland never told you that the events            5        Q      Showing you what has been marked as Exhibit

 6     that he was talking to you about occurred                        6    No. 6, sir.     This is a document Bates numbered X

 7     definitively on April 17, 1986?                                  7    72869 through X 72877.

 8         MS. EKL:    Objection, form, foundation, assumes             8                Sir, you have been coughing a little bit

 9     facts not in evidence.                                           9    here today.     I want to make sure are you on any

10         THE WITNESS:      Fifth amendment.                          10    medication that would prevent you from answering

11     BY MR. AINSWORTH:                                               11    questions here today truthfully and honestly?

12         Q     Isn't it true that Ilya Rowland never told            12        A   No.

13     you that Caine told him that Caine had confessed                13        Q   Do you have any medical condition or other

14     because he was scared of Patterson?                             14    condition that would prevent you from answering

15         MS. EKL:    Objection, form, foundation, assumes            15    questions truthfully and honestly here today?

16     facts not in evidence.                                          16        A   No.

17         THE WITNESS:      Fifth amendment.                          17        Q   Sir, referring to Exhibit No. 6, did you type

18     BY MR. AINSWORTH:                                               18    any portion of this document?

19         Q     Are you going to assert your fifth amendment          19        A   Fifth amendment.

20     rights in response to any questions that I ask you              20        Q   Can you tell us which detectives typed which

21     about Exhibit No. 5?                                            21    portion of this document?

22         A     Fifth amendment.                                      22        A   Fifth amendment.

23         MR. AINSWORTH:     Let's mark this as Exhibit No. 6,        23        Q   Do you know who typed at least some portion

24     please.                                                         24    of this document?



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 1         A   Fifth amendment.                                       1    from area two?

 2         Q   Are you going to assert your fifth amendment           2        MS. EKL:    Objection, form, foundation, assumes

 3     rights in response to any questions that I ask you             3    facts not in evidence.

 4     about Exhibit No. 6?                                           4        THE WITNESS:     Fifth amendment.

 5         A   Yes, sir, I will.                                      5    BY MR. AINSWORTH:

 6         MR. AINSWORTH:     Let's mark this as Exhibit No. 7.       6        Q    Are you going to assert your fifth amendment

 7                   (Exhibit 7, document Bates numbered              7    rights in response to any questions that I ask you

 8                   City EC 016941 through City EC 016951 was        8    about Exhibit No. 7?

 9                   marked for identification.)                      9        A    Fifth amendment.

10     BY MR. AINSWORTH:                                             10        Q    Sir, tell us what role, if any, that you

11         Q   Exhibit No. 7 is a, the Bates numbers are cut         11    played in the arrest of Aaron Patterson?

12     off on this version.    I believe it's Bates numbered         12        A    Fifth amendment.

13     City EC 016944, not 44, sorry, 41 through 16951.              13        Q    Isn't it true, sir, that you interrogated

14              Sir, did you testify before the grand jury           14    Aaron Patterson at area two?

15     in the Sanchez murders?                                       15        A    Fifth amendment.

16         A   Fifth amendment.                                      16        Q    Isn't it true, sir, that you entered the

17         Q   Isn't it true that you provided false                 17    interrogation room where Aaron Patterson was being

18     testimony to the grand jury?                                  18    held at about the same time that Detective Pienta

19         MS. EKL:    Objection, foundation, assumes facts          19    entered that room with a typewriter cover?

20     not in evidence.                                              20        MS. EKL:    Objection, form, foundation, assumes

21         THE WITNESS:    Fifth amendment.                          21    facts not in evidence.

22     BY MR. AINSWORTH:                                             22        THE WITNESS:    Fifth amendment.

23         Q   Can you tell us why it was that you appeared          23    BY MR. AINSWORTH:

24     before the grand jury rather than any other detective         24        Q    Isn't it true that prior to April 30, 1986



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 1     you had observed other area two detectives place a             1    over Aaron Patterson's head in a manner --

 2     typewriting cover over the head of a criminal suspect          2        A    Fifth amendment.

 3     causing that suspect to not be able to breathe in an           3        MS. EKL:    I'm sorry, I didn't know if you were

 4     effort to get that suspect to give a false                     4    finished.

 5     confession?                                                    5        MR. AINSWORTH:    Let me try it again.

 6         MS. EKL:    Objection, form, foundation, assumes           6        Q    Isn't it true that while you were in the

 7     facts not in evidence.                                         7    interrogation room with the lights off, you observed

 8         THE WITNESS:    Fifth amendment.                           8    another detective place a typewriter cover over Aaron

 9     BY MR. AINSWORTH:                                              9    Patterson's head in a manner intended to restrict his

10         Q   Isn't it true that on April 30, 1986 you were         10    breathing?

11     in an interrogation room with Aaron Patterson and             11        MS. EKL:    Objection, form, foundation, assumes

12     about six other detectives?                                   12    facts not in evidence.

13         A   Fifth amendment.                                      13        THE WITNESS:    Fifth amendment.    Excuse me, I'm

14         Q   Isn't it true that while you were in the              14    sorry.

15     interrogation room with Aaron Patterson and about six         15        MR. AINSWORTH:    Sir, if you need a break at any

16     other detectives, one of the detectives turned the            16    time, just let us know.

17     lights off?                                                   17        THE WITNESS:    No, I am fine.   Keep going.

18         MS. EKL:    Objection, form, foundation, assumes          18    BY MR. AINSWORTH:

19     facts not in evidence.                                        19        Q    Isn't it true that while you were in the

20         THE WITNESS:    Fifth amendment.                          20    interrogation room, you placed a typewriter cover

21     BY MR. AINSWORTH:                                             21    over Aaron Patterson's head in a manner that would

22         Q   Isn't it true that after the lights were              22    prevent Aaron Patterson from breathing?

23     turned off inside of that interrogation room, you             23        MS. EKL:    Objection, form, foundation, assumes

24     observed another detective place a typewriting cover          24    facts not in evidence.



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 1         THE WITNESS:    Fifth amendment.                           1    facts not in evidence.

 2     BY MR. AINSWORTH:                                              2        THE WITNESS:    Fifth amendment.

 3         Q   Isn't it true that you held the typewriter             3    BY MR. AINSWORTH:

 4     cover over Aaron Patterson's head in a manner                  4        Q   Isn't it true that while you were in the

 5     intended to prevent him from breathing for about a             5    interrogation room, one of the detectives turned the

 6     minute with the intent of getting Aaron Patterson to           6    lights on and took the typewriter cover off of Aaron

 7     provide a false statement in the Sanchez murders?              7    Patterson's head?

 8         MS. EKL:    Objection, form, foundation, assumes           8        MS. EKL:    Objection, form, foundation, assumes

 9     facts not in evidence.                                         9    facts not in evidence.

10         THE WITNESS:    Fifth amendment.                          10        THE WITNESS:    Fifth amendment.

11     BY MR. AINSWORTH:                                             11    BY MR. AINSWORTH:

12         Q   Isn't it true that while one of the                   12        Q   Isn't it true that you heard one of the

13     detectives held a typewriter cover over Aaron                 13    detectives ask Aaron Patterson if he was ready to

14     Patterson's head, you struck Aaron Patterson in the           14    talk or words to that affect after the typewriter

15     body with your fist?                                          15    cover had been taken off of his head?

16         MS. EKL:    Objection, form, foundation, assumes          16        MS. EKL:    Objection, form, foundation, assumes

17     facts not in evidence.                                        17    facts not in evidence.

18         THE WITNESS:    Fifth amendment.                          18        THE WITNESS:    Fifth amendment.

19     BY MR. AINSWORTH:                                             19    BY MR. AINSWORTH:

20         Q   Isn't it true that while you, on April 30,            20        Q   Isn't it true that at that point Aaron

21     1986 were inside of the interrogation room in area            21    Patterson stated that he wanted to talk to a lawyer

22     two, you observed other detectives strike Aaron               22    and that he wanted to talk to his dad, who is a

23     Patterson in the body?                                        23    Chicago Police Officer?

24         MS. EKL:    Objection, form, foundation, assumes          24        MS. EKL:    Objection, form, foundation, assumes



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 1     facts not in evidence.                                         1    that it occurred in that interrogation room?

 2         THE WITNESS:    Fifth amendment.                           2        MS. EKL:    Objection, form, foundation, assumes

 3     BY MR. AINSWORTH:                                              3    facts not in evidence.

 4         Q   Isn't it true that after Aaron Patterson               4        THE WITNESS:    Fifth amendment.

 5     asked to speak to a lawyer and to his dad, Detective           5    BY MR. AINSWORTH:

 6     Pienta told him that he does not get to speak to a             6        Q   Isn't it true that you observed another

 7     lawyer and that Detective Pienta would decide who he           7    detective place the typewriter cover over Aaron

 8     got to speak to and when he got to speak to them or            8    Patterson's head in a manner that would prevent

 9     words to that affect?                                          9    Patterson from breathing?

10         MS. EKL:    Objection, form, foundation, assumes          10        MS. EKL:    Objection, form, foundation, assumes

11     facts not in evidence.                                        11    facts not in evidence.

12         THE WITNESS:    Fifth amendment.                          12        THE WITNESS:    Fifth amendment.

13     BY MR. AINSWORTH:                                             13    BY MR. AINSWORTH:

14         Q   Isn't it true that after Aaron Patterson              14        Q   Isn't it true that while the typewriter cover

15     asked to speak to a lawyer and to his dad, one of the         15    was placed over Aaron Patterson's head the second

16     detectives in your presence placed the typewriter             16    time, you struck Aaron Patterson in the body?

17     cover back over Aaron Patterson's head and held it            17        MS. EKL:    Objection, form, foundation, assumes

18     there attempting to suffocate him?                            18    facts not in evidence.

19         MS. EKL:    Objection, form, foundation, assumes          19        THE WITNESS:    Fifth amendment.

20     facts not in evidence.                                        20    BY MR. AINSWORTH:

21         THE WITNESS:    Fifth amendment.                          21        Q   Isn't it true that while the typewriter cover

22     BY MR. AINSWORTH:                                             22    was held over Aaron Patterson's head the second time,

23         Q   Isn't it true that you placed the typewriter          23    you observed other detectives striking Aaron

24     cover over Aaron Patterson's head the second time             24    Patterson in the body?



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 1         MS. EKL:    Objection, form, foundation, assumes           1        MS. EKL:    Objection, form, foundation, assumes

 2     facts not in evidence.                                         2    facts not in evidence.

 3         THE WITNESS:    Fifth amendment.                           3        THE WITNESS:    Fifth amendment.

 4     BY MR. AINSWORTH:                                              4    BY MR. AINSWORTH:

 5         Q   Isn't it true that after the typewriter cover          5        Q   Isn't it true that you knew that Aaron

 6     was held over Aaron Patterson's head the second time,          6    Patterson was being physically abused during his

 7     you observed one of the other detectives bringing              7    interrogation on April 30, 1986 inside of area two?

 8     Aaron Patterson a cup with bourbon in it?                      8        MS. EKL:    Objection, form, foundation, assumes

 9         MS. EKL:    Objection, form, foundation, assumes           9    facts not in evidence.

10     facts not in evidence.                                        10        THE WITNESS:    Fifth amendment.

11         THE WITNESS:    Fifth amendment.                          11    BY MR. AINSWORTH:

12     BY MR. AINSWORTH:                                             12        Q   Isn't it true that you knew that Aaron

13         Q   Isn't it true that Lieutenant Burge told you          13    Patterson was being physically abused during his

14     that while he was alone with Aaron Patterson, he put          14    interrogation on April 30, 1986 in an effort to get

15     his revolver on the table and told him to cooperate           15    him to provide an involuntarily confession?

16     or he will get worse?                                         16        MS. EKL:    Objection, form, foundation, assumes

17         MS. EKL:    Objection, foundation, assumes facts          17    facts not in evidence.

18     not in evidence.                                              18        THE WITNESS:    Fifth amendment.

19         THE WITNESS:    Fifth amendment.                          19    BY MR. AINSWORTH:

20     BY MR. AINSWORTH:                                             20        Q   Isn't it true that you knew on April 30 of

21         Q   Isn't it true that you knew that Lieutenant           21    1986 that Aaron Patterson was being physically abused

22     Burge entered the interrogation room with his service         22    inside of area two in an effort to get him to give a

23     weapon with the intent of using it to intimidate              23    false confession?

24     Aaron Patterson in an effort to get him to confess?           24        MS. EKL:    Objection, form, foundation, assumes



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 1     facts not in evidence.                                         1        THE WITNESS:    Fifth amendment.

 2         THE WITNESS:    Fifth amendment.                           2    BY MR. AINSWORTH:

 3     BY MR. AINSWORTH:                                              3        Q   Isn't it true that you were present when Eric

 4         Q   Isn't it true that after Aaron Patterson               4    Caine was brought to Aaron Patterson's interrogation

 5     refused to sign his confession, you entered the room           5    room to view Aaron Patterson?

 6     where he was?                                                  6        A   Fifth amendment.

 7         MS. EKL:    Objection, form, foundation, assumes           7        Q   Isn't it true that Eric Caine was brought to

 8     facts not in evidence.                                         8    Aaron Patterson's interrogation room to view Aaron

 9         THE WITNESS:    Fifth amendment.                           9    Patterson in an effort to intimidate Eric Caine?

10     BY MR. AINSWORTH:                                             10        MS. EKL:    Objection, form, foundation, assumes

11         Q   Isn't it true that when you entered the room          11    facts not in evidence.

12     after Aaron Patterson had refused to sign the                 12        THE WITNESS:    Fifth amendment.

13     confession, you told him that you did not have                13    BY MR. AINSWORTH:

14     anything to do with the prior abuse of him?                   14        Q   Isn't it true that when Eric Caine viewed

15         MS. EKL:    Objection, form, foundation, assumes          15    Aaron Patterson, that Aaron Patterson appeared to

16     facts not in evidence.                                        16    have his hair out of place and shirt out of place and

17         THE WITNESS:    Fifth amendment.                          17    to look dirty and as if he had just been roughed up?

18     BY MR. AINSWORTH:                                             18        MS. EKL:    Objection, form, foundation, assumes

19         Q   Isn't it true that you then told Aaron                19    facts not in evidence.

20     Patterson that he should cooperate because the other          20        THE WITNESS:    Fifth amendment.

21     detectives could do something serious to him if he            21    BY MR. AINSWORTH:

22     didn't cooperate or something to that affect?                 22        Q   Isn't it true that you had used the technique

23         MS. EKL:    Objection, form, foundation, assumes          23    of bringing one suspect into view another suspect who

24     facts not in evidence.                                        24    had been physically abused inside an interrogation



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 1    room in order to intimidate the first suspect as a             1    that he had struck Eric Caine in the side of his head

 2    method of getting the first suspect to provide an              2    with an open hand?

 3    involuntary statement?                                         3        MS. EKL:    Objection, form, foundation, assumes

 4        MS. EKL:     Objection, form, foundation, assumes          4    facts not in evidence.

 5    facts not in evidence.                                         5        THE WITNESS:    Fifth amendment.

 6        THE WITNESS:    Fifth amendment.                           6    BY MR. AINSWORTH:

 7    BY MR. AINSWORTH:                                              7        Q   Isn't it true that prior to April 30, 1986

 8        Q   Isn't it true that you had used the method of          8    you had observed other area two detectives strike

 9    having one suspect view another suspect who had been           9    suspects in the ear with an open hand to provide a

10    physically abused inside an interrogation room in             10    concussive blow that would not leave a mark?

11    area two as a means of getting the first suspect to           11        MS. EKL:    Objection, form, foundation, assumes

12    provide a false confession?                                   12    facts not in evidence.

13        MS. EKL:    Objection, form, foundation, assumes          13        THE WITNESS:    Fifth amendment.

14    facts not in evidence.                                        14    BY MR. AINSWORTH:

15        THE WITNESS:    Fifth amendment.                          15        Q   Isn't it true that prior to April 30 of 1986

16    BY MR. AINSWORTH:                                             16    you had struck criminal suspects inside of area two

17        Q   Isn't it true that Detective Pienta told you          17    interrogation rooms with an open palm to the side of

18    that he had struck Eric Caine in the chest during his         18    their head in an effort to provide a concussive blow

19    interrogation?                                                19    that would not leave a physical mark?

20        MS. EKL:    Objection, form, foundation, assumes          20        MS. EKL:    Objection, form, foundation, assumes

21    facts not in evidence.                                        21    facts not in evidence.

22        THE WITNESS:    Fifth amendment.                          22        THE WITNESS:    Fifth amendment.

23    BY MR. AINSWORTH:                                             23    BY MR. AINSWORTH:

24        Q   Isn't it true that Detective Madigan told you         24        Q   Isn't it true that you had struck criminal



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 1    suspects in area two with an open hand to the side of          1        THE WITNESS:    Fifth amendment.

 2    their head in an effort to get the suspects to                 2    BY MR. AINSWORTH:

 3    provide a false and involuntary statement?                     3        Q   Isn't it true that after April 30, 1986 you

 4        MS. EKL:     Objection, form, foundation, assumes          4    observed etchings that were made inside an

 5    facts not in evidence.                                         5    interrogation room at area two or interrogation room

 6        THE WITNESS:    Fifth amendment.                           6    number two?

 7    BY MR. AINSWORTH:                                              7        A   Fifth amendment.

 8        Q   Isn't it true that on April 30, 1986 you had           8        Q   Isn't it true that you observed scratched

 9    no fear that the office of professional standards              9    into the bench and the frame around the door of that

10    would discipline you if you did commit any kind of            10    interrogation room number two; Aaron 4, slash, 30, I

11    misconduct against a suspect?                                 11    lie about murders, police threatened me with

12        MS. EKL:    Objection, form.                              12    violence, slapped and suffocated me with plastic, no

13        THE WITNESS:    Fifth amendment.                          13    lawyer or dad, no phone?

14    BY MR. AINSWORTH:                                             14        MS. EKL:    Objection, foundation.

15        Q   Isn't it true that the fact that you felt no          15        THE WITNESS:    Fifth amendment.

16    fear of discipline from the office of professional            16    BY MR. AINSWORTH:

17    standards emboldened you to abuse criminal suspects           17        Q   Isn't it true that you observed that etching

18    inside area two because you knew there would be no            18    sometime after April 30, 1986 inside of the

19    repercussions?                                                19    interrogation room inside of area two?

20        MS. EKL:    Objection, form, foundation, assumes          20        A   Fifth amendment.

21    facts not in evidence.                                        21        Q   Isn't it true that you also observed another

22        MR. PAYETTE:    I'll also object to the extent to         22    etching inside of that same interrogation room inside

23    the improper use of this witness's assertion of his           23    of area two on or after April 30, 1986 where it says;

24    fifth amendment rights.                                       24    signed false statement to murders, Tonto on



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 1    statement, the code word, Eric?                                1    do with the Sanchez murders?

 2        MS. EKL:    Objection, assumes facts not in                2        A   Fifth amendment.

 3    evidence.                                                      3        Q   Isn't it true on April 30 of 1986 you

 4        THE WITNESS:     Fifth amendment.                          4    believed that Aaron Patterson had committed the

 5    BY MR. AINSWORTH:                                              5    Sanchez murders?

 6        Q   Isn't it true that you were present when Jon           6        A   Fifth amendment.

 7    Burge refused to allow an investigator for the public          7        Q   Isn't it true that on April 30, 1986 and

 8    defender's office to photograph those etchings, even           8    May 1, 1986 you did not believe that Eric Caine had

 9    though the investigator had a court order from the             9    anything to do with the Sanchez murders?

10    Cook County Circuit Court allowing the photographing          10        A   Fifth amendment.

11    of those etchings?                                            11        Q   Isn't it true that on April 30 and May 1 of

12        MS. EKL:    Objection, form, foundation, assumes          12    1986, you believed that Eric Caine had committed the

13    facts not in evidence.                                        13    Sanchez murders?

14        THE WITNESS:    Fifth amendment.                          14        A   Fifth amendment.

15    BY MR. AINSWORTH:                                             15        Q   Isn't it true that on April 30 -- strike

16        Q   Isn't it true that on April 30 of 1986 you            16    that.

17    knew that Aaron Patterson had nothing to do with the          17             Isn't it true that during Patterson's

18    Sanchez murders?                                              18    interrogation on April 30, 1986 you provided Aaron

19        MS. EKL:    Objection, assumes facts not in               19    Patterson details of the crime of the Sanchez murders

20    evidence.                                                     20    before Aaron Patterson had related any of those

21        THE WITNESS:    Fifth amendment.                          21    details to you?

22    BY MR. AINSWORTH:                                             22        MS. EKL:    Objection, form, foundation, assumes

23        Q   Isn't it true that on that April 30, 1986 you         23    facts not in evidence.

24    did not believe that Aaron Patterson had anything to          24        THE WITNESS:    Fifth amendment.



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 1    BY MR. AINSWORTH:                                              1    Pederson, Burge and Marley to get Eric Caine to

 2        Q   Please tell us what details of the Sanchez             2    provide a false and involuntary confession?

 3    murders you shared with Aaron Patterson before he had          3        A   Fifth amendment.

 4    made any reference to those details?                           4        Q   Isn't it true that prior to the time that

 5        MS. EKL:    Objection, form, foundation, assumes           5    either Aaron Patterson or Eric Caine confessed, you,

 6    facts not in evidence.                                         6    Defendants Madigan, Pienta, Pederson, Burge and

 7        THE WITNESS:     Fifth amendment.                          7    Marley reached an agreement to get Aaron Patterson to

 8    BY MR. AINSWORTH:                                              8    provide a false and involuntary confession?

 9        Q   Isn't it true that on May 1, 1986 you knew             9        A   Fifth amendment.

10    that Aaron Patterson's confession, oral confession            10        Q   If you have any personal knowledge as to why

11    was false?                                                    11    Eric Caine's confession is alleged to be truthful by

12        MS. EKL:    Objection, assumes facts not in               12    you, please tell us now what knowledge you have?

13    evidence.                                                     13        A   Fifth amendment.

14        THE WITNESS:    Fifth amendment.                          14        MS. EKL:    Object to the form.

15    BY MR. AINSWORTH:                                             15        THE WITNESS:    Fifth amendment.

16        Q   Isn't it true that on May 1 of 1986 you knew          16    BY MR. AINSWORTH:

17    that Eric Caine's confession was false?                       17        Q   If you know of any witnesses or physical

18        MS. EKL:    Objection, assumes facts not in               18    evidence or documents that would prove that Eric

19    evidence.                                                     19    Caine's confession is truthful, please tell us the

20        THE WITNESS:    Fifth amendment.                          20    names of those witnesses and identify the physical

21    BY MR. AINSWORTH:                                             21    evidence or the documents that would show that Eric

22        Q   Isn't it true that prior to the time that             22    Caine's confession is truthful?

23    Aaron Patterson or Eric Caine confessed, you reached          23        MS. EKL:    Objection, form.

24    an agreement with Defendants Madigan, Pienta,                 24        THE WITNESS:    Fifth amendment.



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 1    BY MR. AINSWORTH:                                              1    BY MR. AINSWORTH:

 2        Q   If you know of any witnesses or physical               2        Q   Isn't it true that you observed Defendant

 3    evidence or documents that would show that Aaron               3    Burge bring the black box into the interrogation room

 4    Patterson's confession was truthful, please tell us            4    and test it on a nearby radiator causing a spark?

 5    now the names of those witnesses and identify the              5        MS. EKL:     Objection, form, foundation, assumes

 6    physical evidence and identify the documents?                  6    facts not in evidence.

 7        MS. EKL:     Objection, form.                              7        THE WITNESS:    Fifth amendment.

 8        THE WITNESS:    Fifth amendment.                           8        MR. AINSWORTH:     Isn't it true that you observed

 9    BY MR. AINSWORTH:                                              9    Lieutenant Burge pull Melvin Jones' pants and

10        Q   In February of 1982 did you interrogate a             10    undershorts down to his ankles and then shock Melvin

11    person by the name of Melvin Jones?                           11    Jones' toe for a few seconds.

12        A   Fifth amendment.                                      12        MS. EKL:    Objection, form, foundation, assumes

13        Q   In February of 1982 isn't it true that you            13    facts not in evidence.

14    interrogated Melvin Jones alongside Lieutenant Burge?         14        THE WITNESS:    Fifth amendment.

15        MS. EKL:    Objection, form, foundation, assumes          15    BY MR. AINSWORTH:

16    facts not in evidence.                                        16        Q   Isn't it true that you then heard Burge ask

17        THE WITNESS:    Fifth amendment.                          17    Melvin Jones if he was going to confess?

18    BY MR. AINSWORTH:                                             18        MS. EKL:    Objection, form, foundation, assumes

19        Q   Isn't it true that you observed Lieutenant            19    facts not in evidence.

20    Burge take a black box into the interrogation room            20        THE WITNESS:    Fifth amendment.

21    where Melvin Jones was being held?                            21    BY MR. AINSWORTH:

22        MS. EKL:    Objection, form, foundation, assumes          22        Q   Isn't it true that when Melvin Jones declined

23    facts not in evidence.                                        23    to confess, Jon Burge then electroshocked Mr. Jones'

24        THE WITNESS:    Fifth amendment.                          24    right inner thigh for several seconds?



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 1        MS. EKL:     Objection, form, foundation, assumes          1    BY MR. AINSWORTH:

 2    facts not in evidence.                                         2        Q   Isn't it true that you observed Lieutenant

 3        THE WITNESS:    Fifth amendment.                           3    Burge put a, some kind of gag into Melvin Jones'

 4    BY MR. AINSWORTH:                                              4    mouth before he was electroshocked?

 5        Q   Isn't it true that when, that Lieutenant               5        MS. EKL:     Objection, form, foundation, assumes

 6    Burge then asked Melvin Jones if he would confess and          6    facts not in evidence.

 7    Jones again said no?                                           7        THE WITNESS:    Fifth amendment.

 8        MS. EKL:     Objection, form, foundation, assumes          8    BY MR. AINSWORTH:

 9    facts not in evidence.                                         9        Q   Isn't it true that you observed Defendant

10        THE WITNESS:    Fifth amendment.                          10    Burge strike Melvin Jones in the head with a large

11    BY MR. AINSWORTH:                                             11    metal stapler?

12        Q   Isn't it true that you then observed                  12        MS. EKL:    Objection, form, foundation, assumes

13    Defendant Burge shock Melvin Jones' penis for a               13    facts not in evidence.

14    couple of seconds causing Melvin Jones to lose                14        THE WITNESS:    Fifth amendment.

15    consciousness?                                                15    BY MR. AINSWORTH:

16        MS. EKL:    Objection, form, foundation, assumes          16        Q   Isn't it true that during Melvin Jones'

17    facts not in evidence.                                        17    interrogation you asked Melvin Jones if he knew you?

18        THE WITNESS:    Fifth amendment.                          18        MS. EKL:    Objection, form, foundation, assumes

19    BY MR. AINSWORTH:                                             19    facts not in evidence.

20        Q   Isn't it true that Melvin Jones was yelling           20        THE WITNESS:    Fifth amendment.

21    as loud as he could while he was being shocked?               21    BY MR. AINSWORTH:

22        MS. EKL:    Objection, form, foundation, assumes          22        Q   Isn't it true that Melvin Jones told you no,

23    facts not in evidence.                                        23    he did not know you?

24        THE WITNESS:    Fifth amendment.                          24        MS. EKL:    Objection, form, foundation, assumes



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 1    facts not in evidence.                                         1    BY MR. AINSWORTH:

 2        THE WITNESS:    Fifth amendment.                           2        Q   Isn't it true that you told Melvin Jones that

 3    BY MR. AINSWORTH:                                              3    you had a brother in Springfield who could help him?

 4        Q   Isn't it true that you then observed                   4        MS. EKL:    Objection, form, foundation, assumes

 5    Defendant Burge hold a gun to Melvin Jones' head and           5    facts not in evidence.

 6    cock the gun twice?                                            6        THE WITNESS:    Fifth amendment.

 7        MS. EKL:    Objection, form, foundation, assumes           7    BY MR. AINSWORTH:

 8    facts not in evidence.                                         8        Q   In February of 1982 did you have a brother in

 9        THE WITNESS:    Fifth amendment.                           9    Springfield?

10    BY MR. AINSWORTH:                                             10        A   Fifth amendment.

11        Q   Isn't it true that you then intervened to             11        Q   Isn't it true that when you were referring to

12    stop Defendant Burge from doing what he was doing;            12    your brother in Springfield, you were referring to

13    that is, pointing a gun at Melvin Jones inside of the         13    your brother who became an FBI agent?

14    interrogation room at area two?                               14        MS. EKL:    Objection, form, foundation, assumes

15        MS. EKL:    Objection, form, foundation, assumes          15    facts not in evidence.

16    facts not in evidence.                                        16        THE WITNESS:    Fifth amendment.

17        THE WITNESS:    Fifth amendment.                          17    BY MR. AINSWORTH:

18    BY MR. AINSWORTH:                                             18        Q   Which brother were you referring to when you

19        Q   Isn't it true that you then told Melvin Jones         19    said that you had a brother in Springfield that could

20    that Defendant Burge is rude and that if Jones wants          20    help you, who could help Jones?    Sorry.

21    to talk, he should talk to you?                               21        MS. EKL:    Objection, form, foundation, assumes

22        MS. EKL:    Objection, form, foundation, assumes          22    facts not in evidence.

23    facts not in evidence.                                        23        THE WITNESS:    Fifth amendment.

24        THE WITNESS:    Fifth amendment.                          24



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 1    BY MR. AINSWORTH:                                              1    BY MR. AINSWORTH:

 2        Q   When did your brother become an FBI agent?             2        Q   Isn't it true, -- well, strike that.

 3        MS. EKL:    Objection, form, foundation, assumes           3             Are you going to assert your fifth amendment

 4    facts not in evidence.                                         4    rights in response to any questions that I ask you

 5        THE WITNESS:    Fifth amendment.                           5    about Melvin Jones' interrogation on February 6 or

 6    BY MR. AINSWORTH:                                              6    February 7 of 1982 while he was in area two?

 7        Q   In about February of 1982 where was your               7        A   That's correct.

 8    brother stationed?                                             8        Q   Did you report to anybody that Defendant

 9        MS. EKL:    Objection, form, foundation, assumes           9    Burge had used an electroshock on Melvin Jones?

10    facts not in evidence.                                        10        MS. EKL:    Objection, foundation, assumes facts

11        THE WITNESS:    Fifth amendment.                          11    not in evidence.

12    BY MR. AINSWORTH:                                             12        THE WITNESS:    Fifth amendment.

13        Q   What were the professions of any of your              13    BY MR. AINSWORTH:

14    brothers in February of 1982?                                 14        Q   When was the first time that you saw

15        MS. EKL:    Objection, form, foundation, assumes          15    Defendant Burge with a black box that could be used

16    facts not in evidence.                                        16    to provide an electrical shock to people?

17        THE WITNESS:    Fifth amendment.                          17        MS. EKL:    Objection, form, foundation, assumes

18    BY MR. AINSWORTH:                                             18    facts not in evidence.

19        Q   Isn't it true that you struck Melvin Jones            19        THE WITNESS:    Fifth amendment.

20    twice during his interrogation?                               20    BY MR. AINSWORTH:

21        MS. EKL:    Objection, form, foundation, assumes          21        Q   How many times did you observe Defendant

22    facts not in evidence.                                        22    Burge bring that block box that could deliver an

23        THE WITNESS:    Fifth amendment.                          23    electrical shock into an interrogation room?

24                                                                  24        MS. EKL:    Objection, form, foundation, assumes



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 1    facts not in evidence.                                         1    you appeared nice to Melvin Jones that he would

 2        THE WITNESS:    Fifth amendment.                           2    provide an involuntary confession to you based on the

 3    BY MR. AINSWORTH:                                              3    coercion that he experienced from Defendant Burge's

 4        Q   How many times did you observe Defendant               4    threats of violence?

 5    Burge apply the, apply an electroshock to a criminal           5        MS. EKL:    Objection, form, foundation, assumes

 6    suspect inside of area two?                                    6    facts not in evidence.

 7        MS. EKL:     Objection, form, foundation, assumes          7        THE WITNESS:    Fifth amendment.

 8    facts not in evidence.                                         8    BY MR. AINSWORTH:

 9        THE WITNESS:    Fifth amendment.                           9        Q     Isn't it true that that is a method that you

10    BY MR. AINSWORTH:                                             10    used with other criminal suspects; that is, where you

11        Q   Tell me the names of every person who you             11    would come in after the suspect had been abused in

12    observed Defendant Burge apply electroshock on?               12    the hopes that they would provide a confession to you

13        MS. EKL:    Objection, foundation, assumes facts          13    based on the coercion that had occurred previously

14    not in evidence.                                              14    while you pretended to be nice to them?

15        THE WITNESS:    Fifth amendment.                          15        MS. EKL:    Objection, form, foundation, assumes

16    BY MR. AINSWORTH:                                             16    facts not in evidence.

17        Q   Isn't it true that in the Melvin Jones                17        THE WITNESS:    Fifth amendment.

18    interrogation you were trying to be the good cop in           18    BY MR. AINSWORTH:

19    relation to Defendant Burge's bad cop?                        19        Q     Isn't it true that you interrogated a man by

20        MS. EKL:    Objection, form, assumes facts not in         20    the name of James Andrews on April 26 of 1983?

21    evidence.                                                     21        A     Fifth amendment.

22        THE WITNESS:    Fifth amendment.                          22        Q     Isn't it true that while you interrogated

23    BY MR. AINSWORTH:                                             23    James Andrews inside of area two, you had him

24        Q   Isn't it true that you were hoping that if            24    handcuffed to a steel ring inside of the



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 1    interrogation room?                                            1    BY MR. AINSWORTH:

 2        A   Fifth.                                                 2        Q     Isn't it true that you brought James Andrews

 3        Q   Isn't it true that you got in James Andrews'           3    to the room where David Fauntlroy was as a method to

 4    face about four to six inches from his face yelling            4    intimidate David Fauntlroy by showing James Andrews

 5    at him and calling him a liar?                                 5    beaten up appearance?

 6        MS. EKL:     Objection, foundation, form, assumes          6        MS. EKL:    Objection, form, foundation, assumes

 7    facts not in evidence.                                         7    facts not in evidence.

 8        A   Fifth.                                                 8        THE WITNESS:    Fifth.

 9    BY MR. AINSWORTH:                                              9    BY MR. AINSWORTH:

10        Q   Based on your understanding of what was               10        Q     Isn't it true that during David Andrews or

11    permissible in an interrogation, was it permissible           11    James Andrews' interrogation his shirt had been

12    for you to be four to six inches from a face of a             12    ripped?

13    handcuffed suspect and scream at them and calling             13        MS. EKL:    Objection, form, foundation, assumes

14    them a liar?                                                  14    facts not in evidence.

15        MS. EKL:    Objection, form, foundation, assumes          15        THE WITNESS:    Fifth.

16    facts not in evidence.                                        16    BY MR. AINSWORTH:

17        THE WITNESS:    Fifth.                                    17        Q     Isn't it true that when you brought James

18    BY MR. AINSWORTH:                                             18    Andrews to be seen by David Fauntlroy, James Andrews

19        Q   Isn't it true that you brought James Andrews          19    was shirtless because his shirt had been previously

20    to the interrogation room where David Fauntlroy was?          20    been ripped?

21        A   Fifth.                                                21        MS. EKL:    Objection, form, foundation, assumes

22        MS. EKL:    Objection -- sorry, are you finished          22    facts not in evidence.

23    with your question.    Objection, foundation.                 23        THE WITNESS:    Fifth.

24        THE WITNESS:    Fifth.                                    24



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 1    BY MR. AINSWORTH:                                              1        THE WITNESS:    Fifth.

 2        Q   Isn't it true that you struck James Andrews            2    BY MR. AINSWORTH:

 3    on the top of the head?                                        3        Q     Isn't it true that you knew that James

 4        MS. EKL:    Objection, foundation.                         4    Andrews was providing a false confession if he did

 5        THE WITNESS:    Fifth.                                     5    confess?

 6    BY MR. AINSWORTH:                                              6        MS. EKL:    Objection, form, foundation, assumes

 7        Q   Isn't it true that you struck James Andrews            7    facts not in evidence.

 8    in the stomach?                                                8        THE WITNESS:    Fifth.

 9        MS. EKL:    Objection, foundation.                         9    BY MR. AINSWORTH:

10        THE WITNESS:    Fifth.                                    10        Q     Isn't it true that you knew that Ray Madigan

11    BY MR. AINSWORTH:                                             11    was using violence against James Andrews when he was

12        Q   Isn't it true that you used physical violence         12    alone in the interrogation room with James Andrews?

13    against James Andrews in an effort to get him to              13        MS. EKL:    Objection, form, foundation, assumes

14    provide a false and involuntary confession?                   14    facts not in evidence.

15        MS. EKL:    Objection, form, foundation, assumes          15        THE WITNESS:    Fifth.

16    facts not in evidence.                                        16    BY MR. AINSWORTH:

17        THE WITNESS:    Fifth.                                    17        Q     Isn't it true that when Ray Madigan was alone

18    BY MR. AINSWORTH:                                             18    in the interrogation room with James Andrews you

19        Q   Isn't it true that you provided details to            19    could hear noises that sounded consistent with

20    James Andrews about the murder that you were                  20    physical violence occurring inside of that

21    interrogating him about before James Andrews had              21    interrogation room?

22    mentioned any of those details to you?                        22        MS. EKL:    Objection, form, foundation, assumes

23        MS. EKL:    Objection, form, foundation, assumes          23    facts not in evidence.

24    facts not in evidence.                                        24        THE WITNESS:    Fifth.



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 1    BY MR. AINSWORTH:                                              1    out in pain?

 2        Q   Isn't it true that on April 30 and May 1 of            2        MS. EKL:    Objection, form, foundation, assumes

 3    1986 you heard sounds coming from the interrogation            3    facts not in evidence.

 4    room number two where Aaron Patterson was that                 4        THE WITNESS:    Fifth.

 5    sounded consistent with sounds of physical violence            5    BY MR. AINSWORTH:

 6    being inflicted upon someone?                                  6        Q     Isn't it true on April 26, 1983 and April 27,

 7        MS. EKL:    Objection, form, foundation, assumes           7    1983 you interrogated a man named David Fauntlroy?

 8    facts not in evidence.                                         8        A     Fifth amendment.

 9        THE WITNESS:    Fifth.                                     9        Q     Isn't it true that during the interrogation

10    BY MR. AINSWORTH:                                             10    of David Fauntlroy you said to Detective Madigan,

11        Q   Isn't it true on April 30 and May 1 of 1986           11    look at him, that's how they look when they are

12    you heard inside of the interrogation -- strike that.         12    guilty?

13             Isn't it true on April 30 and May 1 of 1986          13        MS. EKL:    Objection, form, foundation, assumes

14    while outside of the interrogation room where Eric            14    facts not in evidence.

15    Caine was being held, you heard sounds coming from            15        THE WITNESS:    Fifth.

16    inside of that room that were consistent with                 16    BY MR. AINSWORTH:

17    physical violence being inflicted on another person?          17        Q     Isn't it true that you heard Detective

18        MS. EKL:    Objection, form, foundation, assumes          18    Madigan say to you, look at him, that's how they look

19    facts not in evidence.                                        19    when they are guilty?

20        THE WITNESS:    Fifth.                                    20        MS. EKL:    Objection, form, foundation, assumes

21    BY MR. AINSWORTH:                                             21    facts not in evidence.

22        Q   Isn't it true that while you were outside             22        THE WITNESS:    Fifth.

23    Eric Caine's interrogation room in area two on                23    BY MR. AINSWORTH:

24    April 30 and May 1 of 1986, you heard Eric Caine cry          24        Q     Isn't it true that you stated to David



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 1    Fauntlroy while he was in the back of your police              1        THE WITNESS:     Fifth.

 2    car, how would you like it if I used this on him?              2    BY MR. AINSWORTH:

 3        MS. EKL:     Objection, form, foundation, assumes          3        Q   Did you ever have to clean up urine from the

 4    facts not in evidence.                                         4    back of your police car?

 5        THE WITNESS:     Fifth.                                    5        A   Fifth.

 6    BY MR. AINSWORTH:                                              6        Q   How many times did you have to clean up urine

 7        Q   Isn't it true that you then held up a                  7    from the back of your police car?

 8    handgun and pointed it at David Fauntlroy?                     8        A   Fifth.

 9        MS. EKL:     Objection, form, foundation, assumes          9        MS. EKL:    Objection, form, foundation, assumes

10    facts not in evidence.                                        10    facts not in evidence.

11        THE WITNESS:    Fifth.                                    11        THE WITNESS:    Fifth, fifth.

12    BY MR. AINSWORTH:                                             12    BY MR. AINSWORTH:

13        Q   Isn't it true that while he was in the back           13        Q   Isn't it true that inside of area two you

14    of your police car at some point after you pointed a          14    handcuffed David Fauntlroy to a ring in the wall in

15    handgun at David Fauntlroy, you discovered that he            15    the interrogation room?

16    had urinated on himself?                                      16        MS. EKL:    Objection, foundation.

17        MS. EKL:    Objection, form, foundation, assumes          17        THE WITNESS:    Fifth.

18    facts not in evidence.                                        18    BY MR. AINSWORTH:

19        THE WITNESS:    Fifth.                                    19        Q   Isn't it true that during his interrogation,

20    BY MR. AINSWORTH:                                             20    during the interrogation of David Fauntlroy, you

21        Q   Isn't it true that you had to clean up urine          21    struck him with your fist?

22    from the back of your police car?                             22        MS. EKL:    Objection, foundation, assumes facts

23        MS. EKL:    Objection, form, foundation, assumes          23    not in evidence.

24    facts not in evidence.                                        24        THE WITNESS:    Fifth.



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 1    BY MR. AINSWORTH:                                              1        MS. EKL:    Objection, foundation and facts not in

 2        Q   Isn't it true that during your interrogation           2    evidence.

 3    of David Fauntlroy you observed Ray Madigan strike             3        THE WITNESS:     Fifth.

 4    Mr. Fauntlroy with his fist?                                   4    BY MR. AINSWORTH:

 5        MS. EKL:     Objection, foundation, assumes facts          5        Q   Isn't it true that you responded to that

 6    not in evidence.                                               6    request by saying, this ain't a TV show, you get a

 7        THE WITNESS:     Fifth.                                    7    phone call when we get what we want or something to

 8    BY MR. AINSWORTH:                                              8    that effect?

 9        Q   Isn't it true that during your interrogation           9        MS. EKL:    Objection, form, foundation, assumes

10    of David Fauntlroy you struck him with a flashlight?          10    facts not in evidence.

11        MS. EKL:    Objection, foundation, assumes facts          11        THE WITNESS:    Fifth.

12    not in evidence.                                              12    BY MR. AINSWORTH:

13        THE WITNESS:    Fifth.                                    13        Q   Isn't it true that you told David Fauntlroy

14    BY MR. AINSWORTH:                                             14    that if he said what you wanted him to say, Fauntlroy

15        Q   Isn't it true that during your interrogation          15    would only be charged with robbery --

16    of David Fauntlroy you observed Ray Madigan beat him          16        MS. EKL:    Objection.

17    with a flashlight?                                            17        MR. AINSWORTH:    -- and James Andrews would be

18        MS. EKL:    Objection, foundation, assumes facts          18    charged with murder?

19    not in evidence.                                              19        MS. EKL:    Objection, foundation, assumes facts

20        THE WITNESS:    Fifth.                                    20    not in evidence.

21    BY MR. AINSWORTH:                                             21        THE WITNESS:    Fifth.

22        Q   Isn't it true that David Fauntlroy asked to           22    BY MR. AINSWORTH:

23    call his family to get a lawyer during his                    23        Q   Isn't it true that you told David Fauntlroy

24    interrogation?                                                24    that if he didn't tell them what they wanted, tell



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 1    you what you wanted to hear, David Fauntlroy would be           1    not in evidence.

 2    charged with murder and go to death row?                        2        THE WITNESS:    Fifth.

 3        MS. EKL:    Objection, form, foundation, assumes            3    BY MR. AINSWORTH:

 4    facts not in evidence.                                          4        Q      Isn't it true that you did not allow

 5        THE WITNESS:     Fifth.                                     5    Mr. Fauntlroy to use the telephone while he was at

 6    BY MR. AINSWORTH:                                               6    area two?

 7        Q      Isn't it true that you used violence against         7        MS. EKL:     Objection, foundation, assumes facts

 8    Mr. Fauntlroy in an effort to get him to provide a              8    not in evidence.

 9    false and involuntary confession?                               9        THE WITNESS:    Fifth.

10        MS. EKL:    Objection, form, foundation, assumes           10    BY MR. AINSWORTH:

11    facts not in evidence.                                         11        Q   What was your height and weight in April or

12        THE WITNESS:    Fifth.                                     12    May of 1986?

13    BY MR. AINSWORTH:                                              13        A   Fifth.

14        Q   Isn't it true that you did not provide                 14        Q   What was your hair color in --

15    Mr. Fauntlroy with any food or water while he was at           15        A   Fifth.

16    the area two police station?                                   16        Q   Sorry.    What was your hair color in April or

17        MS. EKL:    Objection, foundation, assumes facts           17    May of 1986?

18    not in evidence.                                               18        A   Fifth.

19        THE WITNESS:    Fifth.                                     19        Q   What was your built like in April or May

20    BY MR. AINSWORTH:                                              20    of 1986?

21        Q   Isn't it true that you did not allow him to            21        A   Fifth.

22    use the bathroom while he was at the area two police           22        Q   What color eyes do you have?

23    station?                                                       23        A   Fifth.

24        MS. EKL:    Objection, foundation, assumes facts           24        Q   Was your height and weight different in June



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 1    of 1991 than it was or from what it was in April or             1        MS. EKL:     Objection, form, foundation.

 2    May of 1986?                                                    2        THE WITNESS:    Fifth.

 3        A      Fifth.                                               3    BY MR. AINSWORTH:

 4        Q      What is your height now?                             4        Q      Isn't it true that while you were at area

 5        A      Fifth.                                               5    two, you would use the "N" word while conversing with

 6        Q      Did you interrogate the person by the name of        6    your fellow detectives on a weekly basis?

 7    Tyshawn Ross on June 5, 1991 in area three?                     7        MS. EKL:     Objection, form, foundation.

 8        A      Fifth.                                               8        THE WITNESS:    Fifth.

 9        Q      Did you use the word nigger during your              9    BY MR. AINSWORTH:

10    interrogation of Tyshawn Ross on or about June 5 of            10        Q   Isn't it true that it was common for you to

11    1991?                                                          11    use the "N" word during your interrogations of

12        MS. EKL:    Objection, form, assumes facts not in          12    African American criminal suspects?

13    evidence.                                                      13        MS. EKL:    Objection, form, foundation, assumes

14        THE WITNESS:    Fifth.                                     14    facts not in evidence.

15    BY MR. AINSWORTH:                                              15        THE WITNESS:    Fifth.

16        Q   Did you use the "N" word on several occasions          16    BY MR. AINSWORTH:

17    during your interrogation of Tyshawn Ross?                     17        Q   Isn't it true that while Tyshawn Ross was in

18        MS. EKL:    Objection, assumes, facts not in               18    the interrogation room of area three, you pulled his

19    evidence, foundation.                                          19    pants down and stuck an electrical shock device like

20        THE WITNESS:    Fifth.                                     20    a cattle prod in a hole in his underwear in the front

21    BY MR. AINSWORTH:                                              21    of his underwear shocking both of his thighs?

22        Q   While you were at area two, isn't it true              22        MS. EKL:    Objection, form, foundation, assumes

23    that you used the "N" word when conversing with your           23    facts not in evidence.

24    fellow detectives?                                             24        THE WITNESS:    Fifth.



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 1    BY MR. AINSWORTH:                                              1    Ross you told him, nigger, now I know that you are

 2        Q   Isn't it true that you observed another                2    going to tell me something?

 3    detective place a metal shocking device like a cattle          3        MS. EKL:    Objection, form, foundation, assumes

 4    prod through a hole in the front of Tyshawn Ross's             4    facts not in evidence.

 5    underwear shocking the inside of both of his thighs?           5        THE WITNESS:    Fifth.

 6        MS. EKL:    Objection, form, foundation, assumes           6    BY MR. AINSWORTH:

 7    facts not in evidence.                                         7        Q    Isn't it true that during your interrogation

 8        THE WITNESS:    Fifth.                                     8    of Tyshawn Ross you another heard detective state,

 9    BY MR. AINSWORTH:                                              9    nigger, now I know that you are going to tell me

10        Q   Isn't it true that while Tyshawn Ross was             10    something?

11    being shocked, you stated, you called him the "N"             11        MS. EKL:    Objection, form, foundation, assumes

12    word?                                                         12    facts not in evidence.

13        MS. EKL:    Objection, form, foundation, assumes          13        THE WITNESS:    Fifth.

14    facts not in evidence.                                        14    BY MR. AINSWORTH:

15        THE WITNESS:    Fifth.                                    15        Q    Tell me all of the detectives that you know

16    BY MR. AINSWORTH:                                             16    of who interrogated Tyshawn Ross?

17        Q   Isn't it true that while Tyshawn Ross was             17        MS. EKL:    Objection, assumes facts not in

18    being shocked, you heard another detective call him           18    evidence.

19    the "N" word?                                                 19        THE WITNESS:    Fifth.

20        MS. EKL:    Objection, form, foundation, assumes          20    BY MR. AINSWORTH:

21    facts not in evidence.                                        21        Q    Isn't it true that Tyshawn Ross began to cry

22        THE WITNESS:    Fifth.                                    22    after the electroshocks were applied to his body?

23    BY MR. AINSWORTH:                                             23        MS. EKL:    Objection, form, foundation, assumes

24        Q   Isn't it true that before you shocked Tyshawn         24    facts not in evidence.



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 1        THE WITNESS:    Fifth.                                     1    facts not in evidence.

 2    BY MR. AINSWORTH:                                              2        THE WITNESS:    Fifth.

 3        Q   Isn't it true that you applied the                     3    BY MR. AINSWORTH:

 4    electroshocks to Tyshawn Ross's thighs about four or           4        Q    Were you ever questioned about Tyshawn Ross's

 5    five times?                                                    5    allegations that he had been electrically shocked?

 6        MS. EKL:    Objection, form, foundation, assumes           6        MS. EKL:    Objection, foundation, assumes facts

 7    facts not in evidence.                                         7    not in evidence.

 8        THE WITNESS:    Fifth.                                     8        THE WITNESS:    Fifth.

 9    BY MR. AINSWORTH:                                              9    BY MR. AINSWORTH:

10        Q   Isn't it true that you observed another               10        Q    If I ask you any other questions about

11    detective apply the electroshocks to Tyshawn Ross's           11    Tyshawn Ross, are you going to assert your fifth

12    inner thighs about four or five times?                        12    amendment rights?

13        MS. EKL:    Objection, form, foundation, assumes          13        A    Yes.

14    facts not in evidence.                                        14        MS. EKL:    Are you okay?    Do you need to take a

15        THE WITNESS:    Fifth.                                    15    break?   We have been going for a little over an hour.

16    BY MR. AINSWORTH:                                             16    Are you okay?

17        Q   Were you ever made aware of a letter written          17        THE WITNESS:    I am fine.    Let's go.

18    by Dr. John Raba to the head of the office of                 18        MS. EKL:    Okay.   All right.

19    professional standards stating that Tyshawn Ross was          19    BY MR. AINSWORTH:

20    admitted to the Cook County Department of Corrections         20        Q    Did you know that Tyshawn Ross was being

21    on June 6 of 1991, that he was alleging that                  21    subjected to electrical shocks on or about June 5,

22    electrical shocks had been applied to his testicles           22    1991?

23    and inner thighs?                                             23        MS. EKL:    Objection, foundation, assumes facts

24        MS. EKL:    Objection, form, foundation, assumes          24    not in evidence.



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 1        THE WITNESS:    Fifth.                                     1    BY MR. AINSWORTH:

 2    BY MR. AINSWORTH:                                              2        Q   Isn't it true that you interrogated a man by

 3        Q     Isn't it true that you knew that Tyshawn Ross        3    the name of Derell Cannon?

 4    was being subjected to electrical shocks on June 5 of          4        A   Fifth.

 5    1991?                                                          5        Q   Isn't it true that you interrogated Derell

 6        MS. EKL:    Objection, form, foundation, assumes           6    Cannon inside of area two with Detective Grunhard?

 7    facts not in evidence.                                         7        MS. EKL:    Objection, form, foundation, assumes

 8        THE WITNESS:    Fifth.                                     8    facts not in evidence.

 9    BY MR. AINSWORTH:                                              9        THE WITNESS:    Fifth.

10        Q     Isn't it true that you knew that Tyshawn Ross       10    BY MR. AINSWORTH:

11    was having physical abuse applied to him in an effort         11        Q   Isn't it true this happened on or about

12    to get him to provide a false and involuntary                 12    November 2 of 1983?

13    confession?                                                   13        MS. EKL:    Objection, assumes facts not in

14        MS. EKL:    Objection, foundation, assumes facts          14    evidence.

15    not in evidence.                                              15        THE WITNESS:    Fifth.

16        THE WITNESS:    Fifth.                                    16    BY MR. AINSWORTH:

17    BY MR. AINSWORTH:                                             17        Q   Isn't it true that you and Detective Grunhard

18        Q     Isn't it true that you applied violence to          18    suggested inculpatory answers to Derell Cannon?

19    Tyshawn Ross in an effort to get him to provide a             19        MS. EKL:    Objection, form, foundation, assumes

20    fault and involuntary confession?                             20    facts not in evidence.

21        MS. EKL:    Objection, form, foundation, assumes          21        THE WITNESS:    Fifth.

22    facts not in evidence.                                        22    BY MR. AINSWORTH:

23        THE WITNESS:    Fifth.                                    23        Q   Isn't it true that while you were

24                                                                  24    interrogating Derell Cannon, Detective Bosco entered



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 1    the room with an electrical cattle prod in a bag and           1    Cannon's mouth and ask him, "N" word, where is A.D.?

 2    showed it to Derell Cannon and said, nigger, you are           2        MS. EKL:    Objection, form, foundation, assumes

 3    going to tell us where A.D. is at?                             3    facts not in evidence.

 4        MS. EKL:    Objection, form, foundation, assumes           4        THE WITNESS:    Fifth.

 5    facts not in evidence.                                         5    BY MR. AINSWORTH:

 6        THE WITNESS:    Fifth amendment.                           6        Q   Isn't it true that you knew that another

 7    BY MR. AINSWORTH:                                              7    detective would then say shot him to the detective

 8        Q     Isn't it true that you then heard Detective          8    holding the shotgun, who would then pull the trigger

 9    Bosco then say that Derell Cannon would talk before            9    causing it to click rather than discharge?

10    the day was over?                                             10        MS. EKL:    Objection, form, foundation assumes

11        MS. EKL:    Objection, form, foundation, assumes          11    facts not in evidence.

12    facts not in evidence.                                        12        THE WITNESS:    Fifth.

13        THE WITNESS:    Fifth amendment.                          13    BY MR. AINSWORTH:

14    BY MR. AINSWORTH:                                             14        Q   Isn't it true that Detective Byrne told you

15        Q     Isn't it true that you knew that Derell             15    that while in the backseat of his police car he

16    Cannon was then going to be taken outside of area two         16    shocked Derell Cannon on the testicles and penis with

17    to a remote location where he would be physically             17    the cattle prod?

18    abused?                                                       18        MS. EKL:    Objection, foundation, assumes facts

19        MS. EKL:    Objection, form, foundation, assumes          19    not in evidence.

20    facts not in evidence.                                        20        THE WITNESS:    Fifth.

21        THE WITNESS:    Fifth amendment.                          21    BY MR. AINSWORTH:

22    BY MR. AINSWORTH:                                             22        Q   Isn't it true that when the detectives

23        Q     Isn't it true that you knew that Detective          23    returned Derell Cannon back to the police station to

24    Dignan was going to place a shotgun in Derell                 24    area two, Derell Cannon told you that he had been



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 1    abused by the other police detectives?                              1    BY MR. AINSWORTH:

 2           MS. EKL:     Objection, foundation, assumes facts            2        Q   Is it true that you were the one who

 3    not in evidence.                                                    3    questioned Derell Cannon when he returned to area two

 4           THE WITNESS:    Fifth.                                       4    as opposed to any of the five detectives who had left

 5    BY MR. AINSWORTH:                                                   5    area two with Derell Cannon?

 6           Q   Isn't it true that when you did not                      6        MS. EKL:    Objection, form, foundation, assumes

 7    accompanying the detectives who took Derell Cannon                  7    facts not in evidence.

 8    out of area two to physically abuse him so that when                8        THE WITNESS:    Fifth.

 9    Derell Cannon returned to area two, you could pretend               9    BY MR. AINSWORTH:

10    to be the good cop and talk to Derell Cannon in an                 10        Q   Isn't it true that you provided details about

11    effort to get him to give you a false and involuntary              11    the murder that you were questioning Derell Cannon

12    confession based upon the abuse inflicted on him by                12    about before Derell Cannon mentioned any of those

13    other detectives?                                                  13    details to you?

14        MS. EKL:      Objection, form, foundation, assumes             14        MS. EKL:    Objection, form, foundation, assumes

15    facts not in evidence.                                             15    facts not in evidence.

16        THE WITNESS:       Fifth.                                      16        THE WITNESS:    Fifth.

17    BY MR. AINSWORTH:                                                  17    BY MR. AINSWORTH:

18        Q      Please tell us why you questioned Derell                18        Q   Isn't it true that you provided details of

19    Cannon when he returned to area two as opposed to any              19    the murder to Derell Cannon in an effort to get him

20    of the five detectives who left the building with                  20    to provide a false confession?

21    him?                                                               21        MS. EKL:    Objection, form, foundation, assumes

22        MS. EKL:      Objection, form, foundation, assumes             22    facts not in evidence.

23    facts not in evidence.                                             23        THE WITNESS:    Fifth.

24        THE WITNESS:       Fifth.                                      24



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 1    BY MR. AINSWORTH:                                                   1    evidence.

 2           Q   Isn't it true that you provided Derell Cannon            2        THE WITNESS:    Fifth.

 3    with -- strike that.                                                3    BY MR. AINSWORTH:

 4           MR. AINSWORTH:    Let's go off the record for a              4        Q   Isn't it true that during the ride to area

 5    minute.                                                             5    two Leroy Orange asked for an attorney?

 6           THE VIDEOGRAPHER:    Off the record at 11:54.                6        MS. EKL:    Objection, form, foundation, assumes

 7                  (Recess was taken.)                                   7    facts not in evidence.

 8           THE VIDEOGRAPHER:    Back on the record 12:02.               8        THE WITNESS:    Fifth.

 9    BY MR. AINSWORTH:                                                   9    BY MR. AINSWORTH:

10        Q      Sir, did you arrest a person by the name of             10        Q   Isn't it true that you then struck Leroy

11    Leroy Orange back on January 12 of 1984?                           11    Orange in the face after he asked for an attorney?

12        A      Fifth.                                                  12        MS. EKL:    Objection, form, foundation, assumes

13        Q      Who arrested Leroy Orange on or about                   13    facts not in evidence.

14    January 12 of 1984?                                                14        THE WITNESS:    Fifth.

15        A      Fifth.                                                  15    BY MR. AINSWORTH:

16        Q      Did you transport Leroy Orange back to area             16        Q   Isn't it true that in the police car on the

17    two?                                                               17    way to the police station you observed Detective

18        MS. EKL:      Objection, foundation.                           18    Madigan strike Leroy Orange in the face by one of

19        THE WITNESS:       Fifth.                                      19    the, in the face after he asked for an attorney?

20    BY MR. AINSWORTH:                                                  20        MS. EKL:    Objection, form, foundation, assumes

21        Q      Isn't it true that you, Detectives Flood,               21    facts not in evidence.

22    Madigan and McGuire transported Leroy Orange back to               22        THE WITNESS:    Fifth.

23    area two on January 12 of 1984?                                    23    BY MR. AINSWORTH:

24        MS. EKL:      Objection, form, assumes facts not in            24        Q   Isn't it true that at area two you placed



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 1    Leroy Orange in an interrogation room and handcuffed           1    facts not in evidence.

 2    his hands behind his back to a ring on the wall?               2        THE WITNESS:    Fifth.

 3        MS. EKL:    Objection, form, foundation, assumes           3    BY MR. AINSWORTH:

 4    facts not in evidence.                                         4        Q   Isn't it true that you observed Detective

 5        THE WITNESS:    Fifth.                                     5    Madigan place a typewriter cover over Leroy Orange's

 6    BY MR. AINSWORTH:                                              6    head in an effort to prevent him from breathing in an

 7        Q   Isn't it true that after Leroy Orange                  7    effort to get him to provide a false and involuntary

 8    continually denied any knowledge of the crime, a               8    confession?

 9    black box was then brought into the interrogation              9        MS. EKL:    Objection, form, foundation, assumes

10    room?                                                         10    facts not in evidence.

11        MS. EKL:    Objection, form, foundation, assumes          11        THE WITNESS:    Fifth.

12    facts not in evidence.                                        12    BY MR. AINSWORTH:

13        THE WITNESS:    Fifth.                                    13        Q   Isn't it true that during Leroy Orange's

14    BY MR. AINSWORTH:                                             14    interrogation you observed Detective Madigan squeeze

15        Q   Isn't it true that you observed Detective             15    his testicles --

16    Madigan administer electroshocks to Leroy Orange's            16        MS. EKL:    Objection.

17    arms and in his rectum?                                       17    BY MR. AINSWORTH:

18        MS. EKL:    Objection, form, foundation, assumes          18        Q   -- in an effort to get him to provide a false

19    facts not in evidence.                                        19    and involuntary confession?

20        THE WITNESS:    Fifth.                                    20        MS. EKL:    Objection, form, foundation, assumes

21    BY MR. AINSWORTH:                                             21    facts not in evidence.

22        Q   Isn't it true that you administered                   22        THE WITNESS:    Fifth amendment.

23    electroshocks to Leroy Orange's arms and his rectum?          23    BY MR. AINSWORTH:

24        MS. EKL:    Objection, form, foundation, assumes          24        Q   Isn't it true that during his interrogation



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 1    that you placed a typewriter cover over Leroy                  1    facts not in evidence.

 2    Orange's head in a manner that would prevent him from          2        THE WITNESS:    Fifth.

 3    breathing?                                                     3    BY MR. AINSWORTH:

 4        MS. EKL:    Objection, form, foundation, assumes           4        Q   Isn't it true that you observed another

 5    facts not in evidence.                                         5    detective place a typewriter cover over Leroy

 6        THE WITNESS:    Fifth amendment.                           6    Orange's head cutting off his breathing?

 7    BY MR. AINSWORTH:                                              7        MS. EKL:    Objection, form, foundation, assumes

 8        Q   Isn't it true that you squeezed Leroy                  8    facts not in evidence.

 9    Orange's testicles during his interrogation?                   9        THE WITNESS:    Fifth.

10        MS. EKL:    Objection, form, foundation, assumes          10    BY MR. AINSWORTH:

11    facts not in evidence.                                        11        Q   Isn't it true that during his interrogation

12        THE WITNESS:    Fifth.                                    12    you observed another detective squeeze Leroy Orange's

13    BY MR. AINSWORTH:                                             13    testicles?

14        Q   Isn't it true that during the interrogation           14        MS. EKL:    Objection, form, foundation, assumes

15    you observed another detective administer                     15    facts not in evidence.

16    electroshocks to Leroy Orange's arms and his rectum?          16        THE WITNESS:    Fifth.

17        MS. EKL:    Objection, form, foundation, assumes          17    BY MR. AINSWORTH:

18    facts not in evidence.                                        18        Q   Isn't it true that you applied physical

19        THE WITNESS:    Fifth.                                    19    violence to Leroy Orange in an effort to get him to

20    BY MR. AINSWORTH:                                             20    provide a false and involuntary confession?

21        Q   Isn't it true that you knew that                      21        MS. EKL:    Objection, form, foundation, assumes

22    electroshocks were being administered to Leroy Orange         22    facts not in evidence.

23    during his interrogation?                                     23        THE WITNESS:    Fifth.

24        MS. EKL:    Objection, form, foundation, assumes          24



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 1    BY MR. AINSWORTH:                                              1    time that the electroshocks were applied to his body?

 2        Q   Were you ever questioned by the office of              2        MS. EKL:     Objection, form, foundation, assumes

 3    professional standards in regard to the use of                 3    facts not in evidence.

 4    electroshocks against criminal suspects inside of              4        THE WITNESS:    Fifth.

 5    area two?                                                      5    BY MR. AINSWORTH:

 6        MS. EKL:     Objection, foundation.                        6        Q   Tell us what role you played in the

 7        THE WITNESS:    Fifth.                                     7    interrogation of Stanley Howard?

 8    BY MR. AINSWORTH:                                              8        MS. EKL:     Objection, form, foundation, assumes

 9        Q   Were you ever questioned by members of the             9    facts not in evidence.

10    office of professional standards in regard to the use         10        THE WITNESS:    Fifth.

11    of suffocating suspects inside of area two?                   11    BY MR. AINSWORTH:

12        MS. EKL:    Objection, foundation.                        12        Q   Isn't it true that you observed another

13        THE WITNESS:    Fifth.                                    13    police detective place a typewriter bag over Stanley

14    BY MR. AINSWORTH:                                             14    Howard's head cutting off his breathing during his

15        Q   Did you interrogate Leonard Kidd?                     15    interrogation?

16        A   Fifth.                                                16        MS. EKL:    Objection, form, foundation, assumes

17        Q   Who to your knowledge interrogated Leonard            17    facts not in evidence.

18    Kidd?                                                         18        THE WITNESS:    Fifth.

19        MS. EKL:    Objection, form, foundation, assumes          19    BY MR. AINSWORTH:

20    facts not in evidence.                                        20        Q   Isn't it true that Stanley Howard's

21        THE WITNESS:    Fifth.                                    21    interrogation occurred on or about November 3 of

22    BY MR. AINSWORTH:                                             22    1984?

23        Q   Did you -- strike that.    Were you aware that        23        MS. EKL:    Objection, foundation.

24    Leroy Orange's upper front teeth cracked during the           24        THE WITNESS:    Fifth.



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 1    BY MR. AINSWORTH:                                              1    procedures?

 2        Q   Isn't it true that you heard sounds                    2        MS. EKL:     Objection, form, foundation, assumes

 3    consistent with physical abuse being inflicted on              3    facts not in evidence.

 4    somebody while you were standing outside of Stanley            4        THE WITNESS:    Fifth.

 5    Howard's interrogation room while Stanley Howard was           5    BY MR. AINSWORTH:

 6    inside of the interrogation room?                              6        Q   What interrogation techniques were used

 7        MS. EKL:     Objection, form, foundation, assumes          7    against Aaron Patterson?

 8    facts not in evidence.                                         8        MS. EKL:     Objection, form, foundation, assumes

 9        THE WITNESS:    Fifth.                                     9    facts not in evidence.

10    BY MR. AINSWORTH:                                             10        THE WITNESS:    Fifth.

11        Q   Isn't it true that you knew that physical             11    BY MR. AINSWORTH:

12    violence was being applied to Stanley Howard in an            12        Q   Tell me everything that Aaron Patterson said

13    effort to get him to provide a false confession?              13    to you and everything that you said to Aaron

14        MS. EKL:    Objection, form, foundation, assumes          14    Patterson during his interrogation?

15    facts not in evidence.                                        15        MS. EKL:    Objection, form, foundation, assumes

16        THE WITNESS:    Fifth.                                    16    facts not in evidence.

17    BY MR. AINSWORTH:                                             17        THE WITNESS:    Fifth.

18        Q   Did you testify falsely at Aaron Patterson's          18    BY MR. AINSWORTH:

19    criminal trial?                                               19        Q   Tell me everything that Eric Caine said to

20        MS. EKL:    Objection, foundation.                        20    you and everything that you said to Eric Caine, to

21        THE WITNESS:    Fifth.                                    21    Eric Caine while he was in area two on April 30 or

22    BY MR. AINSWORTH:                                             22    May 1 of 1986?

23        Q   Tell me the topics on which you testified             23        MS. EKL:    Objection, form, foundation, assumes

24    falsely about at the Aaron Patterson criminal                 24    facts not in evidence.



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 1        THE WITNESS:    Fifth.                                       1    BY MR. AINSWORTH:

 2    BY MR. AINSWORTH:                                                2        Q   Tell me everything that you said to Michael

 3        Q      Tell me everything that you said to any of            3    Arbuckle about the Sanchez murders and everything

 4    the witnesses that you interviewed with regard to the            4    that he said to you about the Sanchez murders?

 5    Sanchez murders and what they said to you?                       5        MS. EKL:     Objection, form, foundation, assumes

 6        MS. EKL:    Objection, form, foundation, assumes             6    facts not in evidence.

 7    facts not in evidence.                                           7        THE WITNESS:     Fifth.

 8        THE WITNESS:    Fifth.                                       8    BY MR. AINSWORTH:

 9    BY MR. AINSWORTH:                                                9        Q   Tell me everything that you said to Ilya

10        Q   Tell me everything that the Apache Rangers              10    Rowland about the Sanchez murders and everything that

11    that you questioned on April 22 said to you with                11    Ilya Rowland said to you about the Sanchez murders?

12    regard to the Sanchez murders and what you said to              12        A   Fifth.

13    them during your interviewing them about the Sanchez            13        MS. EKL:    Objection.

14    murders?                                                        14        THE WITNESS:    Sorry.

15        MS. EKL:    Objection, form, foundation, assumes            15        MS. EKL:    Form, foundation, assumes facts not in

16    facts not in evidence.                                          16    evidence.

17        THE WITNESS:    Fifth.                                      17        THE WITNESS:    Fifth.

18    BY MR. AINSWORTH:                                               18    BY MR. AINSWORTH:

19        Q   Tell me everything that Richard Burnette said           19        Q   Do you have any remorse for how you treated

20    to you about the Sanchez murders and everything that            20    Aaron Patterson and Eric Caine back on April 30 of

21    you said to him?                                                21    1986 and May 1 of 1986?

22        MS. EKL:    Objection, form, foundation, assumes            22        MS. EKL:    Objection, form, foundation, assumes

23    facts not in evidence.                                          23    facts not in evidence.

24        THE WITNESS:    Fifth.                                      24        THE WITNESS:    Fifth.



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 1    BY MR. AINSWORTH:                                                1    enforcement?

 2        Q      If at trial you intend to testify about any           2        A   Yes.

 3    of your family members, I am going to ask you certain            3        Q   How many?

 4    questions here today.    You can decide whether you              4        A   Two.

 5    wish to answer those questions or not.    If you refuse          5        Q   What agencies do they work with?

 6    to answer those questions, I will ask the Court to               6        A   Fifth.

 7    bar you from testifying about those topics at trial.             7        Q   Do you have any grandchildren?

 8    So we will take them question by question, you and               8        A   Yes.

 9    your counsel can decide.                                         9        Q   How many?

10               Are you married, sir?                                10        A   Three.

11        A   Yes.                                                    11        Q   Are any of them adults?

12        Q   How long have you been married?                         12        A   No.

13        A   Over 25 years.                                          13        MR. AINSWORTH:    I don't have any further

14        Q   Is your wife retired?                                   14    questions.

15        A   Yes.                                                    15        MS. EKL:    We'll waive signature.

16        Q   What was her profession before she retired?             16        MR. PAYETTE:    I have no questions.

17        A   Teacher.                                                17        MS. EKL:    I'm sorry.

18        Q   Do you have adult children?                             18        THE VIDEOGRAPHER:    Here concludes the video

19        A   Yes.                                                    19    deposition of Daniel McWeeny.    The time is 12:18.

20        Q   How many adult children do you have?                    20

21        A   One.                                                    21

22        Q   What is that person's profession?                       22

23        A   Occupational therapist.                                 23

24        Q   Do you have any family members who are in law           24



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         1      STATE OF ILLINOIS            )                                                                1                Witness my official signature and Notary stamp
                                             )     ss:
         2      COUNTY OF C O O K            )                                                                2      for Cook County Illinois on this _________________
         3                                                                                                    3      day of ___________________, A.D. 2012.
         4                                                                                                    4
         5                The within and foregoing deposition of the                                          5
         6      aforementioned witness was taken before DANA L.
                                                                                                              6
         7      LARIMER, C.S.R., and Notary Public at the place, date
                                                                                                              7
         8      and time aforementioned.
                                                                                                              8                       ______________________________________
         9                There were present during the taking of the                                                                 DANA L. LARIMER, C.S.R.,
                                                                                                              9                       License No. 084-004152
        10      deposition the previously named counsel.                                                                              311 S. Wacker Dr., Suite 300
                                                                                                             10                       Chicago, Illinois 60606
        11                The said witness was first duly sworn and was                                                               Phone: (312) 386-2000
                                                                                                             11
        12      then examined upon oral interrogatories; the
                                                                                                             12
        13      questions and answers were taken down in shorthand by
                                                                                                             13
        14      the undersigned, acting as stenographer, the within and

                foregoing is a true, accurate and complete record of
                                                                                                             14
        15

        16      all of the questions asked of and answers made by the                                        15

        17      aforementioned witness, at the time and place                                                16

        18      hereinabove referred to.                                                                     17

        19                The signature of the witness was waived by                                         18

        20      agreement of counsel.                                                                        19

        21                The undersigned is not interested in the within case,                              20
        22      nor of kin or counsel to any of the parties.                                                 21
        23                                                                                                   22
        24                                                                                                   23

                                                                                                             24



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